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 4
     Attorney for Defendant, Juan Gonzalez Mejia
 5
 6                               IN THE UNITED STATES DISTRICT COURT
 7                                  EASTERN DISTRICT OF CALIFORNIA

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                                                     )
     UNITED STATES OF AMERICA,                       )    Case No.: 1:18-CR-00073-LJO-SKO-2
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                                                     )
                    Plaintiff,                       )    STIPULATION AND ORDER TO
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                                                     )    VACATE STATUS CONFERENCE SET
     vs.                                             )    FOR MARCH 18, 2019
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                                                     )
12                                                   )    Courtroom 7
                                                     )    Hon. Magistrate Sheila K. Oberto
     JUAN DANIEL GONZALEZ-MEJIA,                     )
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                                                     )
                    Defendant.                       )
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            IT IS HEREBY STIPULATED by and between Jeffrey T. Hammerschmidt, attorney for
16
     the above-named defendant Juan Daniel Gonzalez-Mejia, and Thomas Newman, Assistant
17
     United States Attorney, that the status conference set for March 18, 2019 at 1:00 p.m. be vacated.
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            The stipulation is based on good cause, in that the parties are in the process of executing a
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     plea agreement, and once executed and filed with the court it will be set for entry of the plea
20
     before the Honorable Lawrence J. O’Neill..
21
22   Dated: March 14, 2019                                  /s/ Jeffrey T. Hammerschmidt
                                                            JEFFREY T. HAMMERSCHMIDT
23                                                          Attorney for Juan Gonzalez Mejia
24
     SO STIPULATED
25
     Dated: March 14, 2019                                  McGREGOR W. SCOTT
26                                                          United States Attorney
27                                                       By: /s/ Thomas M. Newman ___________________
                                                             Thomas M. Newman
28                                                           Assistant United States Attorney
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                                                   ORDER
 1
              The Court has reviewed and considered the stipulation of the parties to vacate the status
 2
 3   conference set for March 18, 2019, at 1:00 p.m. Good cause appearing, it is hereby ordered that

 4   the Status Conference set for Monday, March 18, 2019, at 1:00 p.m. be vacated.

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     IT IS SO ORDERED.
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 7   Dated:     March 14, 2019                                     /s/   Sheila K. Oberto             .
                                                           UNITED STATES MAGISTRATE JUDGE
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